Case 8:15-cv-02514-SCB-EA.] Document 12 Filed 01/21/16 Page 1 of 2 Page|D 46

UNITED STATES DISTRICT COURT
l\/IIDDLE DISTRICT OF FLORIDA
TAMPA DIVISION

JOVAN HARDWICK,

Plaintiff, CASE NO.: 8:15-CV-()2514-SCB-EAJ
_VS_
SUNRISE CREDIT SERVICES, INC.,

Defendant.
/

 

NOTICE OF PENDING SETTLEMENT
Plaintiff, Jovan Hardwick, by and through her undersigned counsel, hereby submits this
Notice of Pending Settlement and states that Plaintiff and Defendant, Sunrise Credit Services,
Inc., have reached a settlement With regard to this case and are presently drafting, finalizing, and
executing the settlement and dismissal documents Upon execution of the same, the parties Will
file the appropriate dismissal documents With the Court.
Dated this 21st day of January, 2016.

/s/ William Peerce Howard
William Peerce Howard, Esquire
Morgan & l\/Iorgan, P.A.
One Tampa City Center
201 N. Franklin st., 7th Floor
Tampa, FL 336()2
Tele: (813) 223-5505
Fax: (813) 223-5402
Florida Bar #: 0103330
Attorney for Plaintiff
bhoward@forthepeople.com

Case 8:15-cv-O2514-SCB-EA.] Document 12 Filed 01/21/16 Page 2 of 2 Page|D 47

CERTIFICATE OF SERVICE

I HEREBY CERTIFY that the foregoing Was filed electronically on the 21St day of
January, 2016, in accordance With the Court’s Electronic Filing Guidelines. Notice of this filing
Will be sent to all parties by operation of the Court’s Electronic Filing System. Parties may
access this filing through the Court’s Filing System.

Ernest “Skip” Kohlmyer, III, Esquire

Urban, Their & Pederer, P.A.

200 S. Orange Ave., Suite 2000

Orlando, FL 32801

kohlmyer@urbanthier.com

/s/ William Peerce Howard
Attorney for Plaintiff

